                          Case 4:21-cr-00070-LPR Document 48 Filed 10/15/21 Page 1 of 7
AO 245B (Rev. 09il9)   Judgment in a Criminal Case                                                                          FfLE Q
                       Sheet I                                                                                      EAs#·H;. ~~ltr C@t1R I
                                                                                                                                     TARKANSAS

                                           UNITED STATES DISTRICT COURT                                                         15 202
                                                              Eastern District of Arkansas                          TAMM
                                                                                                                By:     .
                                                                           )
              UNITED STATES OF AMERICA                                     )         JUDGMENT IN A CRIMINAL~-~~=-- ·
                                   V.                                      )
                                                                           )
               TAMARCUS TYSHUN HUNTER                                                Case Number: 4:21-CR-00070-01 LPR
                                                                           )
                                                                           )         USM Number: 38012-509
                                                                           )
                                                                           )         -~lakE:_ By_!'?_(~PP_<?i~t~d) __
                                                                           )         Defendant's Attorney
THE DEFENDANT:
~ pleaded guilty t.o count(s)           1 of the Indictment
D pleaded nolo contendere to count(s)
  which was accepted by the cou1t.
D was found guilty on count(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                            Offense Ended
18 U.S.C. § 922(g)(1)             Felon in Possession of a Firearm, a Class C Felony                           5/18/2020            1




       The defendant is sentenced as provided in pages 2 through                 7          of this judgment. The sentence is imposed pursuant to
the Sentencing Refo1m Act of 1984.
D The defendant has been found not guilty on count(s)

D Count(s)
               - - - - - - - - - - - - - Dis                        Dare dismissed on the motion of the United Slates.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. Ifordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in cconom1c circumstances.                         ·

                                                                                                            10/15/2021




                                                                                        Lee P. Rudofsky, United States District Judge
                                                                          Nam.: and Title of Judge



                                                                          Date
                           Case 4:21-cr-00070-LPR Document 48 Filed 10/15/21 Page 2 of 7
AO 2458 (Rev. 09/19) Judgment in Criminal Case
                     Sheet 2 - Imprisonment

                                                                                                  Judgment -   Page   _2~_   of   7
 DEFENDANT: TAMARCUS TYSHUN HUNTER
 CASE NUMBER: 4:21-CR-00070-01 LPR

                                                          IMPRISONMENT
           The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imp1isoned for a
 total term of:

 FORTY-EIGHT (48) MONTHS




      ~ The com1 makes the following recommendations to the Bureau of Prisons:
        IF DEFENDANT IS ELIGIBLE AND IF APPROPRIATE FOR DEFENDANT, the Court recommends that defendant be
        incarcerated at FCI Forrest City or FCI Texarkana to be close to family; and that defendant participate in residential
        substance abuse treatment, and educational and vocational programs during incarceration. The Court also recommend:
        defendant participate in the RDAP program.

      liZ'I The defendant is remanded to the custody of the United States Marshal.

      D The defendant shall sun-ender to the United States Marshal for this district:
           D at                                  D a.m.      D p.m.       on

           D as notified by the United States Marshal.

      D The defendant shall surrender for service of sentence at the institution designated by the Bureau of P1isons:
           D before 2 p.m. on
           D as notified by the United States Marshal.
           D as notified by the Probation or Pretrial Services Office.


                                                                RETURN
 l have executed this judgment as follows:




           Defendant delivered on                                                       to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                                UNITED STATES MARSHAL



                                                                         By-------------------
                                                                                             DEPUTY UNITED STATES MARSHAL
                                 Case 4:21-cr-00070-LPR Document 48 Filed 10/15/21 Page 3 of 7
AO 245B (Rev. 09i l 9i       Judg.1m::11t in a Criminal Case
                             Sheet 3 - Supavis~d Release
                                                                                                         Judgment-Page   _;L__   of       7
DEFENDANT: TAMARCUS TYSHUN HUNTER
CASE NUMBER: 4:21-CR-00070-01 LPR
                                                                SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of:

 THREE (3) YEARS




                                                               MANDA TORY CONDITIONS
I.    You must not commit another federal, state or local crime.
2.    You must not unlawfully possess a controlled substance.
3.    You must 1·efr<1in from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
      imprisonment and at least two periodic drug tests thereafter, as determined by the court.
               D The above drug testing condition is suspended. based on the court's determination that you
                   ~1ose a low risk of future substance abuse. (check /fapplicablej
4.     D You mList make restitution in accordance with 18 U.S.C. ~~ 3663 and 3663A or anv other statute authorizing a sentence of
                  •      I                                             .._._                    _,                        -


           restitutioi1. (check ilapp/icablej
5.     llf You must cooperate in the collection of DNA as directed by the probation officer. (check /(applicable)
6.      D   You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
            directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
            reside. work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.      D   You must ·participate in an approved program for domestic violence. (check if applicable)

You must comply with the standard conditions that have been adopted by this cowt as well as with any other conditions on the attached
page.
                             Case 4:21-cr-00070-LPR Document 48 Filed 10/15/21 Page 4 of 7
AO 245B (Rev. 09/ 19)      Jud!,!mcnt in a Criminal Case
                           Sh~ct 3;\ - Supervised Release
                                                                                                    Judgment-Page   --~4_ _       of _ _ _ _ _ __
DEFENDANT: TAMARCUS TYSHUN HUNTER
CASE NUMBER: 4:21-CR-00070-01 LPR

                                            STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the follO\ving standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about. and bring about improvements in your conduct and condition.

    I.     You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
           release from imprisonment. unless the probation officer instructs you to report to a different probation office or within a different time
           frame.
'          After initially reporting to the probation office, you wil I receive instructions from the court or the probation officer about how and
           when you must report to the probation officer, and you must report to the probation officer as instructed.
_,.        You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
           cou1t or the probation officer.
4.         You must answer truthfully the questions asked by your probation officer.
5.         You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
           arrangements (such.as the people you live with), you must notify the probation officer at least 10 days before the change. lfnotifying
           the probation officer in advance is not possible due to unanticipated circumstances, you must notity the probation officer within 72
           hours of becoming aware of a change or expected change.
6.         You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
           take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.         You must work full time (at least 30 hours per week) at a lawful type of employment. unless the probation officer excuses you from
           doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
           you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
           responsibilities), you must notify the probation officer at least IO days before the change. If notifying the probation officer at least 10
           days in advance is not possible due to unanticipated circumstances. you must notify the probation officer within 72 hours of
           becoming aware of a change or expected change.
8. ·       You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
           convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
           probation officer.
9.         If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
I 0.       You must not own. possess, or have access to a firearm. ammunition, destructive device, or dangerous weapon (i.e., anything that was
           designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
    l J.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
           first getting the permission of the court.
12.        If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
           require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
           person and confirm that you have notified the person about the risk.
    13.    You must follow the instructions of the probation officer related to the conditions of supervision.




U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the cou1i and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions. see Overview cf Probation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                          Date - - - - - - - - - - - - -
                         Case 4:21-cr-00070-LPR Document 48 Filed 10/15/21 Page 5 of 7
AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 3D - Supervised Release
                                                                                            Judgment-Page ___5____ of      7
DEFENDANT: TAMARCUS TYSHUN HUNTER
CASE NUMBER: 4:21-CR-00070-01 LPR

                                         SPECIAL CONDITIONS OF SUPERVISION
 1. Defendant must participate in a substance abuse treatment program under the guidance and supervision of the of the
 probation office. The program may include drug and alcohol testing, outpatient counseling, and residential treatment.
 Further, defendant must abstain from the use of alcohol during treatment. The defendant must pay for the cost of .
 treatment at the rate of $10 per session, with the total cost not to exceed $40 per month, based on ability to pay as
 determined by the probation office. In the event the defendant is financially unable to pay for the cost of the treatment, the
 co-pay requirement will be waived. The defendant must disclose his substance abuse history to prescribing physicians and
 allow the probation office to verify disclosure.
.,_

                                 Case 4:21-cr-00070-LPR Document 48 Filed 10/15/21 Page 6 of 7
      AO :!45B (Rev. 09/19)   Judgment in a Criminal Case
                              Sheet 5 - Criminal Moncr.ary Pcnal!ies
                                                                                                                      .ludgmcnl - Page       6     of        7
       DEFENDANT: TAMARCUS TYSHUN HUNTER
       CASE NUMBER: 4:21-CR-00070-01 LPR
                                                        CRIMINAL MONETARY PENALTIES
            The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                              Assessment                Restitution                  Fine                      AV AA Assessment"'            ,JVT A Assessment*''
       TOTALS            $    100.00                $                            $                         $                             $



       D    The determination of restitution is deferred until
                                                               -----
                                                                     . An Amended .Judgment in a Criminal Case (AO 245C) will be
            entered after such determination.

       D    The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

            If the defendant makes a partial payment, each payee shall receive an approximatelv proportioned payment, unless specified otherwise in
            the priority order or percentage pavment column below. However, pursuant to 18.U.S.C. § 3664(i). all nonfederal victims must be paid
            before the United States is pard. •

       Name of Pavee                                                     Total Loss''**                    Restitution Ordered           Priority or Percentage




       TOTALS                                s                           0.00               s                         0.00


       D     Restitution amount ordered pursuant to plea agreement $

       D     The defendant must pay interest on restitution and a fine of more than $2.500, unless the restitution or fine is paid in full before the
             fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612({). All of the payment options on Sheet 6,may be subject
             to penalties for delinquency and default pursuant to 18 U.S.C. § 3612(g).

       D     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

             D    ihe interesi requirement is waived for the             D   fine      D    restitution.

             D    the interest requirement fort.he          D     fine       D   restitution is modified as follows:

       * Amy._ Vicky, ~n~ Andx C:-:hild P<;)moiraphy Vi~tim Assistance Act of 2018, Pub. L. No. 115-299.
       ** Justice for V1ct1ms ot 1 rafiickmg Act of 20 I), Pub. L. No. 114-22.
       *** Findings for the Jotal amount ot losses ~re required under Chapters ·109A, 110, I IOA, and l l3A of Title                 18 for offenses committed on
       or after September l.,, 1994, but before Apnl 23. 1996.
                           Case 4:21-cr-00070-LPR Document 48 Filed 10/15/21 Page 7 of 7
AO 245B (Rev. 09/ 19)   Judgment in a Criminal Case
                        Sheet 6 - Schedule of Payments
                                                                                                                    Judgment - Page _7_____ of          7
 DEFENDANT: TAMARCUS TYSHUN HUNTER
 CASE NUMBER: 4:21-CR-00070-01 LPR


                                                           SCHEDULE OF PAYMENTS
 Having assessed the defendant's ability to pay. payment of the total criminal monetary penalties is due as follows:

 A     ~     Lump sum payment of S          100.00                   due immediately. balance due

             O     not later than                                        . or
             O     in accordance with O C,               O D,       •     E.or        D F below; or
 B     D Payment to begin immediately (may be combined with                       •   c,        D   D,or     0 F below); or

 C     D     Payment in equal                            (e.g., week!v, mo11th!v, quurterlv) installments of $   ____ over a period of
                             (e.g., mo11ths or vear.1). to commence                        (e.g. 30 or 6() davs) afl:er the date of this judgment: or

 D     D     Payment in equal       _ _ _ _ _ (e.g. ,veekly, 111onth!y, q11arier/yi installments of $ _ _ _ _ over a period of
                           (e.g .. momhs or yearsi, to commence _ _ _ _ _ (e.g., 30 or 60 days) after release from imprisonment to a
             term of supervision; or

 E     D     Payment during the term of supervised release will commence within _ _ _ _ _ (e.g. 30 or 60 days) after release from
             imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F     O Special instructions regarding the payment of criminal monetary penalties:




 Un less !he co_~rt ha~ expressly order~d (?therwise. ifth is jud,¥;rnent imposes imprisonment, payment ofcrim in al monetary penaltie~ is du_e during
 the period ot unpnsonment. All crnnmal monetarv pena1t1es. except those payments made through the Federal Bureau of Prisons Inmate
 Financial Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



 D     Joint and Several

       Case Number
       Defendant and Co-Defendant Names                                                           Joint and Several                Corr9~ponding_ Payee,
       ( incl1Jdi11g defendant numbe1)                          Total Amount                           Amount                          1f appropriate




 D     The defendant sha II pay the cost of prosecution.

 D     The defendant shall pay the following cowt cost(s):

 D     The defendant shall forfeit the defendant's interest in the following property to the United States:



 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AV AA assessment,
 (55 fine principal, (6) fine interest, (7) co1nmunity restitution, (8) JVTA assessment, (9) penalties, and (10) costs, mcluding cost of
 prosecution and court costs.




                                                1·
